






	











IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0385-08







JOHN URANGA, III, Appellant


v.


THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE SIXTH COURT OF APPEALS

WICHITA COUNTY




	Price, J., filed a dissenting opinion in which Holcomb, J., joined.


DISSENTING OPINION


	Without fanfare, the Court today announces that there is no such thing as the Sixth
Amendment doctrine of implied bias.  The whole thing is apparently a figment of Justice
O'Connor's imagination.  I am here to attest that the implied bias doctrine does exist.  I know
it does; I have seen it.

	Writing for a nearly unanimous Court two-and-a-half years ago, albeit in dicta, I
described the provenance of the Sixth Amendment's implied bias doctrine. (1)  After
summarizing the facts and holding of the majority opinion in Smith v. Phillips, (2) I turned to
Justice O'Connor's concurring opinion and explained: (3)

		Justice O'Connor joined the majority opinion in Smith v. Phillips, but
wrote separately to express her view that the due-process holding contained
therein did not "foreclose" application of the Sixth Amendment doctrine "of
'implied bias' under appropriate circumstances." (4)  She pointed out that
sometimes a prospective juror's own ability to objectively gauge his
impartiality may be impaired, or he may even have a motive not to disclose it. (5) 
She continued:


		While each case must turn on its own facts, there are some
extreme situations that would justify a finding of implied bias. 
Some examples might include a revelation that the juror is an
actual employee of the prosecuting agency, that the juror is a
close relative of one of the participants in the trial or the
criminal transaction, or that the juror was a witness or somehow
involved in the criminal transaction.  Whether or not the state
proceedings result in a finding of "no bias," the Sixth
Amendment right to an impartial jury should not allow a verdict
to stand under such circumstances. (6)


	Justice O'Connor's view that the Sixth Amendment doctrine of implied bias
survived the majority's due-process analysis in Smith v. Phillips was later
endorsed by five members of the Court, albeit in separate opinions, in
McDonough Power Equipment, Inc. v. Greenwood. (7)


		Indeed, the Sixth Amendment doctrine can be traced back at least as far
as 1936, when the Supreme Court observed that "[t]he [Sixth] Amendment
prescribes no specific tests.  The bias of a prospective juror may be actual or
implied; that is, it may be bias in fact or bias conclusively presumed as a
matter of law." (8)  Some have traced its genesis to Chief Justice Marshall's 1807
seminal opinion as a circuit judge in the Aaron Burr treason trial in United
States v. Burr. (9)  Whatever its provenance, the doctrine of implied bias has been
recognized and applied by many of the federal circuit courts of appeals, (10) and
by some of the courts of appeals in Texas. (11)  A few of the federal circuit courts
have pointed out that the Supreme Court has never actually reversed a
conviction on the basis of implied bias and have questioned whether the
doctrine survived Smith v. Phillips, notwithstanding Justice O'Connor's
concurring opinion.  Those courts have nevertheless assumed (without
deciding) that the doctrine remains viable, but have held that it did not apply
to establish a Sixth Amendment violation on the particular facts presented. (12)


Since the time we issued our opinion in Morales, the federal courts of appeals have continued
to recognize and apply the implied bias doctrine. (13)  Indeed, the Fifth Circuit regards the
doctrine as so entrenched that it has seen fit to reverse a capital murder conviction on the
basis of  implied juror bias even under the rigorously deferential criteria governing federal
habeas review under the Antiterrorism and Effective Death Penalty Act. (14)

	Notwithstanding the durability of the Sixth Amendment doctrine of implied bias, the
Court today rejects it almost effortlessly, citing only the majority opinion in Smith v. Phillips
for support. (15)  But Smith v. Phillips was decided under the Fourteenth Amendment's due
process requirement of a fair trial, not the Sixth Amendment's independent guarantee of an
impartial jury.  The majority in Smith v. Phillips observed that "due process does not require
a new trial every time a juror has been placed in a potentially compromising situation." (16)  As
Justice O'Connor emphasized in her concurring opinion, there is no inherent conflict
between this due process principle and the co-existing Sixth Amendment principle that some
jurors may find themselves in situations that are so compromising that a hearing will not
satisfy the guarantee of an impartial jury.  Determining actual bias on a juror's part is
problematic to begin with, "partly because the juror may have an interest in concealing his
own bias and partly because the juror may be unaware of it." (17)  At a certain point, the
potential for bias may reach such a level that judges cannot depend on the time-honored tools
for gauging credibility, such as tone of voice and demeanor, to ascertain the trustworthiness
of the juror's claims of impartiality.  While affording the accused a hearing in which to try
to root out actual bias under these circumstances may always satisfy his right to the
procedural protections of due process, meant to ensure basic fairness, it will sometimes prove
inadequate to ensure jury impartiality for Sixth Amendment purposes.  Justice O'Connor's
valid insight is that the Smith v. Phillips majority's Fourteenth Amendment due process
holding may be harmonized with the Sixth Amendment promise of jury impartiality so long
as courts continue to recognize that, under certain extreme circumstances, they should refuse
to proceed to verdict or uphold a conviction on appeal even in the face of a juror's confident
assurances that he can be fair and disinterested.  Nothing that I can find in the majority
opinion in Smith v. Phillips necessarily contradicts Justice O'Connor's insight, much less
expressly rejects it.  This Court's reliance on that majority opinion today to disown the Sixth
Amendment doctrine of implied bias is, in my view, a grievous mistake.

	Applying the doctrine of implied bias on the facts of this case, I would reverse the
appellant's conviction and remand the cause for a new punishment hearing.  A juror who
unexpectedly turns out to be the victim of one of the accused's extraneous offenses does not
fit neatly into any of Justice O'Connor's categories.  But her list was only intended to be
exemplary, not exhaustive.  I can think of few more compelling motives a juror could have
to impose punishment on an improper basis than the motive to avenge some wrong
perpetrated by the accused upon the juror himself.  That the extraneous offense the appellant
committed against the juror in this case is a relatively benign property offense makes no
difference.  It is still a highly personal affront against the juror.  The high potential for
injecting personal animus into the jury room during the punishment deliberations counsels
against our trusting either the juror's claim to indifference or the efficacy of any judicial
admonishment to ensure fairness.

	The Sixth Amendment implied bias doctrine is alive and well and ought to be applied 

on the facts of this case.  The Court should reverse the judgment of the court of appeals and
remand the cause to the trial court for a new punishment proceeding. (18)  Because it does not,
I respectfully dissent.


FILED:	November 17, 2010

PUBLISH
1. 	 State v. Morales, 253 S.W.3d 686 (Tex. Crim. App. 2008).
2. 	 455 U.S. 209 (1982).
3. 	 Id. at 694-96 (footnotes from the original Morales opinion will be reproduced here, in the
margin, in footnotes four through twelve, post).
4. 	 Smith v. Phillips, supra, at 221.
5. 	 Id. at 222.
6. 	 Id.
7. 	 464 U.S. 548, 556-57 (1984) (Blackmun, J., joined by Stevens and O'Connor, JJ., concurring)
("it remains within a trial court's option, in determining whether a jury was biased, to order a post-trial
hearing at which the movant has the opportunity to demonstrate actual bias or, in exceptional
circumstances, that the facts are such that bias is to be inferred."); id. at 558 (Brennan, J., joined by
Marshall, J., concurring) ("for a court to determine properly whether bias exists, it must consider at
least two questions: are there any facts in the case suggesting that bias should be conclusively
presumed; and, if not, is it more probable than not that the juror was actually biased against the
litigant."). 
8. 	 United States v. Wood, 299 U.S. 123, 133 (1936).  See Franklin v. State, 138 S.W.3d 351,
363-64 (Tex. Crim. App. 2004) (Cochran, J., dissenting).
9. 	 See United States v. Haynes, 398 F.2d 980, 983-984 (2nd Cir. 1968), citing United States v.
Burr, 25 Fed.Cas. 49 (C.C.Va. 1807).  Without expressly invoking the Sixth Amendment, Chief
Justice Marshall observed in Burr, supra, at 50:


	The end to be obtained is an impartial jury; to secure this end, a man is prohibited from
serving on it whose connexion with a party is such as to induce suspicion of his
partiality.  The relationship may be remote; the person may never have seen the party;
he may declare that he feels no prejudice in the case; and yet the law cautiously
incapacitates him from serving on the jury because it suspects prejudice, because in
general persons in a similar situation would feel prejudice.
10. 	 The Second, Fifth, Seventh, Ninth and Tenth Circuits seem to have accepted the Sixth
Amendment implied bias doctrine without qualification.  E.g., United States v. Torres, 128 F.3d 38,
45-6 (2nd Cir. 1997);  Brooks v. Dretke, 444 F.3d 328 (5th Cir. 2006) (Opinion on rehearing);  Solis v.
Cockrell, 342 F.3d 392, 395 (5th Cir. 2003);  United States v. Scott, 854 F.2d 697, 700 (5th Cir. 1988); 
United States v. Nell, 526 F.2d 1223, 1229 (5th Cir. 1976);  United States v. Polichemi, 219 F.3d 698,
704-05 (7th Cir. 2000);  Hunley v. Godinez, 975 F.2d 316, 318-19 (7th Cir. 1992);  Fields v. Brown, 503
F.3d 755, 770 (9th Cir. 2007), cert. denied [552] U.S. [1314], No. 07-8724 (April 14, 2008);  United
States v. Gonzalez, 214 F.3d 1109, 1112 (9th Cir. 2000);  Dyer v. Calderon, 151 F.3d 970, 981-82 (9th
Cir. 1998);  Tinsley v. Borg, 895 F.2d 520, 526-29 (9th Cir. 1990);  United States v. Eubanks, 591 F.2d
513, 517 (9th Cir. 1979);  United States v. Allsup, 566 F.2d 68, 71-72 (9th Cir. 1977);  United States
v. Cerrato-Reyes, 176 F.3d 1253, 1260-61 (10th Cir. 1999);  Gonzales v. Thomas, 99 F.3d 978, 987
(10th Cir. 1996);  Burton v. Johnson, 948 F.2d 1150, 1158 (10th Cir. 1991).  In one of these cases,
observing that "[t]he concept of implied bias is well-established in the law[,]" the Seventh Circuit
Court of Appeals held that a 15-year employee of the United States Attorneys Office was biased as a
matter of law notwithstanding her assertions that she could be fair and impartial.  United States v.
Polichemi, supra, at 705.
11. 	 Ruckman v. State, 109 S.W.3d 524, 528 (Tex. App.--Tyler 2000, pet. ref'd);  Harvey v. State,
123 S.W.3d 623, 631 (Tex. App.--Texarkana 2003, pet. ref'd).
12. 	 The Fourth and Sixth Circuits have tentatively suggested that the implied bias doctrine might
have been abrogated, but they have avoided resolving the issue by holding that it would not apply in
any event to the facts presented in any of the cases before them.  E.g., Connor v. Polk, 407 F.3d 198,
206 n.4 (4th Cir. 2005);  Jones v. Cooper, 311 F.3d 306, 312-13 (4th Cir. 2002);  Fitzgerald v. Greene,
150 F.3d 357, 365 (4th Cir. 1998);  Person v. Miller, 854 F.2d 656, 664 (4th Cir. 1988);  Johnson v.
Luoma, 425 F.3d 318, 326-27 (6th Cir. 2005);  United States v. Frost, 125 F.3d 346, 380 (6th Cir.
1997).
13. 	 See Estrada v. Scribner, 512 F.3d 1227, 1240 (9th Cir. 2008) ("in extraordinary cases, courts
may presume bias based on the circumstances.") (internal quotation marks omitted);  United States v.
Brazelton, 557 U.S. 750, 753 (7th Cir. 2009) ("The concept of implied bias is well-established in the
law.");  Hatten v. Quarterman, 570 F.3d 595, 600 (5th Cir. 2009) ("There is also a narrow class of
relationships described by Justice O'Connor's concurrence in Smith v. Phillips, and recognized by this
court on several occasions, for which a juror can be presumed biased.").  The Sixth Circuit continues
to assume, without deciding, that the doctrine of implied bias abides, but does not in any event call for
reversal on the facts of the particular case.  United States v. Russell, 595 F.3d 633, 641-42 (6th Cir.
2010);  Treesh v. Bagley, 612 F.3d 424, 437 (6th Cir. 2010).  And lately, the Eighth Circuit has noted,
but not resolved, an inconsistency in its own case law with respect to whether it will apply implied
bias.  Sanders v. Norris, 529 F.3d 787, 791-93 (8th Cir. 2008).
14. 	 See Brooks v. Dretke, supra, at 329 ("We maintain that the doctrine of implied bias is 'clearly
established Federal law as determined by the Supreme Court'" for purposes of 28 U.S.C. § 2254(d)(1),
which requires federal habeas judges to defer to the judgments of state courts unless a particular state
court judgment is "contrary to, or involved an unreasonable application of, clearly established Federal
law, as determined by the Supreme Court of the United States").
15. 	 Majority opinion, at 10-11 (holding that Smith v. Phillips stands for the categorical proposition
that a hearing will invariably prove to be an adequate procedure for revealing actual juror bias).
16. 	 455 U.S. at 217.
17. 	 Id. at 221-22 (O'Connor, J., concurring).
18. 	 Tex. Code Crim. Proc. art. 44.29(b).


